
Kirkpatrick, C. J.
The justice of the judgment, after a careful examination of all the papers handed up, seems to me to be exceedingly doubtful. The plaintiff’s demand filed, consists partly of a book account, and partly of other matters. This Schamp appears to have been a constable,
*533and in his state of demand, he charges the defendant below with several sums of money, paid on executions against him, to sundry persons, as per certain receipts referred to. But he does not set forth that these sums were paid at the request of the said defendant; and when we come to examine the receipts, which also are handed up, they appear to be receipts from Ritteuhouse, by the hand of Schamp only, and not receipts from Schamp, on account of Ritteuhouse. Upon the whole, as the state of demand is not strictly legal, in that it does not state these payments to have been made at the request of the defendant, and as I have great doubt as to the real justice of the claim, I am inclined to reverse the judgment.
